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                                                    January 22, 2022

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE:   United States v. Michael Avenatti
      19 Cr. 374 (JMF)

Dear Judge Furman:

       The defense seeks an Order directing the Department of Justice to provide to
the defense the Tabs and FileSite data in their possession relating to Ms. Stephanie
Clifford in a usable, readily accessible format. This data, which is Brady and Giglio
material, 1 resides in the files seized from Mr. Avenatti’s former firm, is in the
possession of Main Justice and the U.S. Attorney’s Office for the Central District of
California and contains records concerning (a) Mr. Avenatti’s representation of Ms.
Clifford under the terms set forth in their fee agreement and (b) the costs and
expenses Mr. Avenatti incurred on her behalf, for which he was entitled to
reimbursement (including, as he will argue at trial, from any book proceeds).

       On January 12, 2022, the prosecution team produced notes it took from an
interview of Judy Regnier earlier that same day. Ms. Regnier was Mr. Avenatti’s
office manager and was responsible for inputting entries in QuickBooks and Tabs—
the two accounting programs used for some (but not all) of Mr. Avenatti’s former
clients. During that interview, Ms. Regnier told the Government that information
relating to the Mr. Avenatti’s firm’s representation of Ms. Clifford was kept in
QuickBooks and Tabs (3514-041).

      Upon receiving the notes, Mr. Avenatti sought the assistance of his expert in
the Central District of California to access the relevant data from the copy of the
servers that were produced to Mr. Avenatti in mid-September 2021. Unfortunately,

1 See also Motion to Compel Production of All Brady, Giglio and 3500 Materials in

the Possession of Main Justice and C.D. Ca., Dkt. No. 279.
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the expert was unable to access the information without the assistance of Software
Technology, LLC (see below). Mr. Avenatti subsequently filed an emergent
application with the court in the Central District of California seeking its assistance
in compelling the Government to produce the accounting data. See Dkt. 903. The
application was denied yesterday without prejudice to Mr. Avenatti’s ability to
obtain relief before this Court. See Dkt. 909. The defense promptly raised the issue
the morning of January 21, 2022 with the Court.

        During that discussion, the Court requested a more detailed explanation of
why Mr. Avenatti has been unable to access the Tabs data from the copy of the
servers produced to him in the Central District of California in mid-September
2021. Preliminarily, it bears emphasizing that although Mr. Avenatti was the
managing attorney of Eagan Avenatti, LLP, he was not responsible for installing or
maintaining the firm’s servers or for inputting accounting data. Beyond his
familiarity with how to use a computer as a practicing attorney, Mr. Avenatti has
never possessed a technical knowledge of how the servers work. He does not know
how to identify where on a forensic copy of the servers certain data is stored, nor
has he ever known how to access data on the servers that is not in its native state
(e.g., accessible via a shared network).

      The defense further submits the following timeline in response to the Court’s
inquiry:

      1. After years of demanding that the Government provide a copy of his own
         law firm’s servers, Mr. Avenatti received a forensic copy of the servers on
         September 16, 2021. The servers total 19.86 terabytes, which is roughly
         twice the data necessary to hold the entire Library of Congress. 2 It is
         especially important to note that the forensic copy of the servers is not

2 See, e.g., Schwartz v. United States, 828 F. App’x 628, 634 n.3 (11th Cir. 2020):


      According to the conversion rate found in McNulty v. Reddy Ice
      Holdings, Inc., 3 terabytes would equal approximately 660 million
      pages of “printed text.” 271 F.R.D. 569, 570 n.1 (E.D. Mich. 2011).
      Without delving into the distinctions between “plain” text and
      “printed” text, let's just say a terabyte is more than a little
      information. Three terabytes would hold 3,000 copies of the
      Encyclopedia Britannica, or 30% of the printed collection of the Library
      of Congress. United States v. Salyer, Cr. No. S-10-0061-LKK, 2011 WL
      1466887, at *1 n.2 (E.D. Cal. Apr. 18, 2011) (quotation omitted), report
      and recommendation adopted, Cr. No. S-10-061-LKK, 2011 WL
      1811211 (E.D. Cal. May 12, 2011).

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         readily searchable like an external hard drive or thumb drive, which is
         why Judge Selna has directed the Government to prepare and provide a
         complete FTK index of the servers to Mr. Avenatti, a process that began in
         August 2021 and, according to the Government, is still not complete.

      2. Prior to receiving the servers, Mr. Avenatti retained a computer expert,
         Mr. Ernest Koeberlein. A copy of his CV is attached as Exhibit A.

      3. Mr. Avenatti and Mr. Koeberlein have worked diligently since September
         2021 to (a) extract the data from the servers in a form where at least some
         of it is searchable and (b) access the data relevant to Mr. Avenatti’s
         representation of Ms. Daniels. These efforts have been hampered by, inter
         alia, the Government’s failure to provide to Mr. Avenatti the index
         ordered by Judge Selna and the fact that the nearly 20 terabytes of data
         are not in an operational format that is readily searchable. 3

      4. On October 13, 2021, the C.D. Ca. prosecution team filed an emergent
         application for an Order “Requiring Software Technology, LLC to
         facilitate the Government’s Restoration of Tabs Software Files Seized
         from the Eagan Avenatti LLP Servers….” See Dkt. 855. This was filed
         after the Government served a subpoena on Software Technology, LLC
         (the maker of the Tabs software) requesting assistance loading the Tabs
         files. The subpoena was served after Government agents who, like Mr.
         Avenatti and his expert were unable to access the Tabs data on their own.
         Concerned with the confidential and privileged nature of the Tabs
         materials, Software Technology, LLC indicated that it would not comply
         absent an agreement between the parties.

      5. On October 15, 2021, a status conference was held with Judge Selna
         where the parties were ordered to prepare a joint stipulation that would
         allow for Software Technology, LLC to provide the requested assistance
         only in connection with the former clients of Eagan Avenatti, LLP named
         in the C.D. Ca. Indictment. After the parties were unable to come to an
         agreement regarding the language of the stipulation, an emergent
         application was filed by the Government on October 27, 2021. See Dkt.
         873. This application was granted by Judge Selna on November 1, 2021.
         See Dkt. 877. The court indicated that Software Technology, LLC, was
         permitted to provide technical assistance to both parties.

      6. On November 1, 2021, Mr. Avenatti forwarded Judge Selna’s Order to the
3 The defense can provide a declaration from Mr. Koeberlein regarding his efforts

and the technical challenges with searching the servers if the Court so desires.
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   Privilege Review Team (“PRT”) and counsel for Software Technology,
   LLC. On November 9, 2021, a conference call occurred with the defense,
   the PRT, and Software Technology, LLC personnel. During this
   conference call, a solution was proposed to effectively sever the data
   relating to the five clients named in the California Indictment from the
   client data not at issue in any of the cases against Mr. Avenatti. Software
   Technology, LLC asked that the PRT and the defendant enter into a
   stipulation.

7. On November 12, 2021, the defense sent the PRT points to be included
   within the stipulation. On November 17, 2021, Mr. Avenatti and the PRT
   came to an agreement on a protocol that would allow for the production of
   the data to both Mr. Avenatti and the PRT. The stipulation addressed
   confidentiality concerns and otherwise complied with Judge Selna’s Order.

8. On November 22, 2021, Mr. Avenatti memorialized the terms of
   segregation of the Tabs data into a stipulation. This stipulation included
   the agreements made between the defense and the PRT. The PRT then
   approved the language within the stipulation. On November 23, 2021, Mr.
   Avenatti provided the signed stipulation to Software Technology, LLC for
   its review. On November 24, 2021, Software Technology, LLC proposed
   some minor edits for the stipulation.

9. On December 6, 2021, the PRT proposed three consecutive dates
   (December 7 through 9). Software Technology, LLC was available on
   December 8 only, but Mr. Avenatti’s expert was not and proposed dates
   the following week. Unfortunately, the PRT otherwise unavailable the
   remaining three weeks of December. The PRT indicated it would propose
   new dates in January 2022.

10. On January 11, 2022, a conference call took place between the PRT, Mr.
    Avenatti, and Software Technology, LLC. The parties discussed the
    logistics of segregating the data and scheduled the in-person segregation
    to take place on January 18, 2022, which was ultimately rescheduled to
    January 24, 2022.

11. Mr. Avenatti subsequently raised with the PRT the need to also acquire
    the Tabs data related to Ms. Clifford (which Ms. Regnier specifically
    referenced in the 3500 materials produced in this case on January 12,
    2022). The PRT indicated that in order to facilitate the segregation of the
    Tabs data related to Ms. Clifford, it would need to be directed to do so by
    the court and took no other position on the matter. Accordingly, Mr.

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         Avenatti filed an emergent application with Judge Selna requesting that
         the court issue an Order permitting the Privilege Review Team to assist
         in segregating the data relating to Ms. Clifford. See Dkt. 903. This request
         was denied without prejudice on January 20, 2022, with the following
         statement from Judge Selna: “Denied without prejudice to any relief
         which defendant may be entitled to in the Southern District of New York.”


       As set forth above, Mr. Avenatti has endeavored to work with the PRT in
C.D. Ca. and Software Technology, LLC to obtain the data located on the servers
related to his firm’s accounting across various client accounts. Through no fault of
his own, the data has been inaccessible for months and the company responsible for
the Tabs program has required multiple court orders to even assist the parties in
obtaining the data. Thus, even if Mr. Avenatti had specifically requested the Tabs
data for Ms. Clifford on September 16, 2021, the day the servers were first
produced, he would still be in the exact same position he is in now: waiting for
Software Technology, LLC to conduct the Tabs data segregation with the agreement
of the Government. And because the data segregation will occur on the copy of the
servers in the possession of the Government in C.D. Ca., which Mr. Avenatti
submits is a part of the same prosecution team as the S.D.N.Y., the Court should
compel the Government’s production of the Tabs data for Ms. Clifford.

                                                    Respectfully Submitted,

                                                                /s/
                                                    Robert M. Baum, Esq.
                                                    Andrew J. Dalack, Esq.
                                                    Tamara L. Giwa, Esq.
                                                    Assistant Federal Defenders

Cc:   Government Counsel                            Counsel for Michael Avenatti




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